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UNlTED STATES OF AMER|CA, )
Plaintiff, g
VS. § CR. NO. 04-20359-07-|Vl|
JOHNNY cAsTRo §
Defendant. §

 

ORDER ON CHANGE OF PLEA
AND SETT|NG

 

This cause came to be heard on Ju|y 1, 2005, the United States Attorney for this district,
David Henry, appearing for the Government and the defendant, Johnny Castro, appearing in person and
with counsel, Lorna McC|usky, who represented the defendant

With leave of the Court, the defendant withdrewthe not guilty plea heretofore entered and entered
a plea of guilty to Count 1 of the lndictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENC|NG in this Case is SET for TUESDAY, OCTOBER 4, 2005, at 9:00 A.M.,
in Courtroom No. 1, on the 11th floor before Judge Jon Phipps McCal|a.

Defendant is allowed to remain released on present bond.

ENTERED this the L clay of Ju|y, 2005.

unit/lt

JON PH|PPS MC CALLA
NlTE STATES DISTRICT JUDGE

 

This document entered on the docket sheet ln compliance
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with Rule 55 and/or 32{b) FRCrP on

 
 

UNITED `sATEs DISTRICT COURT - WESTERN D's'TRCT OFTENNESSEE

   

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This notice confirms a copy of the document docketed as number 173 in
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Honcrable J on McCalla
US DISTRICT COURT

